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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH


 W. CLARK APOSHIAN,                                 MEMORANDUM DECISION & ORDER
                                                     ON THE PARTIES’ MOTIONS FOR
       Plaintiff,                                        SUMMARY JUDGMENT

 v.
                                                         Case No. 2:19-cv-00037-JNP-CMR
 MERRICK GARLAND, Attorney General of
 the United States, et al.,                                 District Judge Jill N. Parrish

       Defendants.


       On September 29, 2023, this court denied Plaintiff’s Motion for Summary Judgment,

ECF No. 61, granted Defendants’ Cross-Motion, ECF No. 64, and entered judgment accordingly.

See ECF Nos. 71, 72. In so doing, the court deferred to the interpretation of the Bureau of Alcohol,

Tobacco, Firearms and Explosives (“ATF”) of the National Firearms Act of 1934,

26 U.S.C. § 5845, and the Gun Control Act of 1968, 18 U.S.C. § 922. The court determined that a

regulation, Bump-Stock-Type Devices, 83 Fed. Reg. 66,514 (Dec. 26, 2018) (“Final Rule”), was

a reasonable interpretation of the statutory definition of “machinegun” and therefore a lawful

exercise of the ATF’s authority. To justify this deference, the court relied on Chevron, U.S.A., Inc.

v. Natural Resources Defense Council, 467 U.S. 837 (1984), and Aposhian v. Barr, 958 F.3d 969

(10th Cir. 2020).

       Subsequently, the United States Supreme Court decided Garland v. Cargill,

602 U.S. 406 (2024). There, the Court determined that the ATF “exceeded its statutory authority

by issuing” the Final Rule. Id. at 415. In another opinion issued not long after, the Court overruled

Chevron and declared that “courts need not and under the APA may not defer to an agency
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interpretation of the law simply because a statute is ambiguous.” Loper Bright Enters. v. Raimondo,

144 S. Ct. 2244, 2273 (2024). In light of the Court’s decision in Cargill, the United States Court

of Appeals for the Tenth Circuit vacated the September 29, 2023 judgment of this court and

remanded the matter so that this court could “conduct any and all further proceedings it deems

necessary and appropriate[.]” ECF No. 80.

       Because the Final Rule was an invalid exercise of ATF’s regulatory authority, Plaintiff’s

Motion for Summary Judgment, ECF No. 61, is GRANTED. Defendants’ Cross-Motion, ECF No.

64, is DENIED. The court shall enter judgment concurrently with the issuance of this

memorandum decision and order.

       DATED August 13, 2024.

                                             BY THE COURT



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                                             Jill N. Parrish
                                             United States District Court Judge




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